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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 JAVIER GARZA, on Behalf of Himself and §
 on Behalf of All Others Similarly Situated, §
                                             §
       Plaintiff,                            §
                                             §
 v.                                          §              CIVIL ACTION NO. 4:20-cv-00253
                                             §
 WOOD GROUP USA, INC.,                       §
                                             §
       Defendant.                            §
                                             §

            PLAINTIFF’S ORIGINAL COLLECTIVE ACTION COMPLAINT

                                           SUMMARY

       1.      Defendant Wood Group USA, Inc. (hereinafter “Defendant”) improperly disguised

wage payments to Plaintiff Javier Garza (“Plaintiff”) as reimbursed expenses. As a result, the

improperly classified expense payments were excluded from the regular rate of pay of the Plaintiff.

Thus, he was not paid overtime at the rate of time and one half his regular rate of pay for all hours

worked over 40 in a workweek.

       2.      Defendant’s conduct violates the Fair Labor Standards Act, which requires non-

exempt employees to be compensated for all hours in excess of forty in a workweek at one and

one-half times their regular rates of pay. See 29 U.S.C. § 207(a). On behalf of himself and all other

similarly situated employees, Plaintiff bring this action as a collective action under the FLSA, 29

U.S.C. § 216(b). Members of the collective action are referred to as the “Class Members.”

                                   JURISDICTION AND VENUE

       3.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §1331 because the action involves a federal statute, the FLSA, 29 U.S.C §§ 201, et seq.



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       4.      Venue is proper in this District because the Plaintiff worked in this District, worked

overtime hours in this District, and was denied overtime wages at the rate of time and one half his

regular rate of pay in this District. That is, the violation of which the Plaintiff complains occurred

while he worked in this District.

                         PARTIES AND PERSONAL JURISDICTION

       5.      Plaintiff Javier Garza is an individual residing in Porter, Texas. Plaintiff’s written

consent to this action is attached hereto as Exhibit “A.”

       6.      Defendant Wood Group USA, Inc. is a Texas corporation. Defendant can be served

with process by serving Corporation Service Company d/b/a CSC – Lawyers Incorporating Service

Company at 211 E. 7th Street, Suite 620, Austin, Texas, 78701. Defendant is subject to personal

jurisdiction in this District because it is a Texas company which owns property, provides services,

operates a business, and employs workers in Texas.

       7.      The “Class Members” are all workers paid an hourly rate and rig pay at any time

during the three year period prior to the filing of this lawsuit to the present.

                                            COVERAGE

       8.      At all material times, Defendant has been an employer within the meaning of the

FLSA. 29 U.S.C. § 203(d).

       9.      At all material times, Defendant has been an enterprise in commerce or in the

production of goods within the meaning of the FLSA due to the fact that Defendant has had and

continues to have employees engaged in interstate commerce. 29 U.S.C. § 203(s)(1).

       10.     At all material times, Defendant has had an annual gross business volume in excess

of the statutory standard of $500,000.




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      11.      At all material times, Plaintiff and the Class Members were/are employees engaged

in commerce or the production of goods for commerce as required by 29 U.S.C. § 207.

                                             FACTS

        12.    Defendant is an engineering company that provides services to the oil and gas

industry. As its website states, Defendant “ha[s] designed some of the largest structures, serviced

thousands of unmanned assets and monitor thousands more. We have extended our support from

upstream to mid- and downstream assets, helping our customers get the most from their

investments at every stage of the product pipeline.” (See https://www.woodplc.com/sectors/oil-

and-gas, last visited January 22, 2020). Defendant operates across the US, including in Texas,

California, Colorado, and New York.

       13.     Plaintiff worked for Defendant from approximately September 2018 to January

2019 as a welder. As a welder, Plaintiff performed manual labor, welding tasks on oil rigs and

other oilfield equipment.

       14.     Plaintiff was paid an hourly rate of $38 per hour plus “Rig Pay” and a per diem.

       15.     Plaintiff regular worked more than 40 hours each week. In fact, Plaintiff was

scheduled to work approximately 50 hours or more each week.

      16.      Like Plaintiff, the Class Members were paid an hourly rate plus “Rig Pay” and a

per diem.

      17.      Like Plaintiff, the Class Members performed manual labor tasks on oilfield

equipment.

      18.      Like Plaintiff, the Class Members worked more than 40 hours in a week.

      19.      Plaintiff and the Class Members were not exempt from overtime.




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      20.      Although the Plaintiff and Class Members were paid on an hourly rate basis, they

were not paid overtime at the rate of time and one-half their regular rates of pay for all hours

worked over 40 in a week.

      21.      That is because “Rig Pay” and the per diem payments were not included in their

regular rate of pay for purposes of calculating overtime. Defendant illegally classified “Rig Pay”

and the per diem payments as expense reimbursements instead of as wages.

      22.      Thus, the overtime the Plaintiff and the Class Members were paid was less than

time and one half their regular rates of pay.

      23.      “Rig Pay” constitutes wages as a matter of law because the amount paid by

Defendant was based upon the number of hours worked. That is, “Rig Pay” was not based upon

actual expenses, but was based upon hours worked. In these circumstances, Rig Pay is a wage

payment that must be included in the regular rate of pay. Gagnon v. United Technisource, Inc.,

607 F.3d 1036 1041-42 (5th Cir. 2010); Hanson v. Camin Cargo Control, Inc., 2015 WL 1737394,

at *5 (S.D. Tex. Apr. 16, 2015).

       24.     For example, Plaintiff was paid an hourly rate of $38 per hour and Rig Pay of $25

per hour. Plaintiff’s true hourly rate of pay was $63 per hour, not $38 per hour. His overtime rate

was then $94.50 per hour (1.5 x $63 per hour), which was not paid to him.

      25.      Additionally, the per diem paid to the Plaintiff and Class Members should have

been included in the regular rate of pay. That is because the per diem was substantially greater

than the actual or reasonable approximation of the Plaintiff’s and Class Members’ expenses.

      26.      In fact, Defendant paid the per diem regardless of whether or not the Plaintiff and

Class Members actually incurred travel or work related expenses in a given week.




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      27.      Defendant simply paid a per diem of $100 per day. Therefore, the per diem bore

no reasonable relationship to actual expenses that were incurred.

      28.      Defendant disguised this compensation as an expense reimbursement in order to

avoid including such compensation in the calculation of the overtime rate. Again, because

Defendant failed to include the per diem in the overtime calculation, Defendant has paid the

Plaintiff and Class Members at rates less than what the FLSA mandates.

      29.      Although Plaintiff and the Class Members have been required to work more than

40 hours per work-week, and did so frequently, they were not compensated at the FLSA mandated

time-and-a-half rate for hours in excess of 40 per workweek.

      30.      No exemption under the FLSA applies to Plaintiff.

      31.      No exemption under the FLSA applies to the Class Members.

      32.      Defendant’s method of paying the Plaintiff and the Class Members in violation of

the FLSA was willful and was not based on a good faith and reasonable belief that the conduct

complied with the FLSA. Defendant’s misclassification was not by accident, but a well thought

out scheme to reduce labor costs. Defendant knew the requirement to pay overtime to its

employees, but intentionally and/or recklessly chose not to do so. Accordingly, Defendant’s

violations of the FLSA was willful.

                             VIOLATION OF 29 U.S.C. § 207
                        FAILURE TO PAY OVERTIME UNDER THE FLSA
                                  (COLLECTIVE ACTION)

      33.      Plaintiff incorporates all allegations contained in the foregoing paragraphs.

      34.      Defendant’s practice of failing to pay Plaintiff time-and-a-half rate for hours in

excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.




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      35.      None of the exemptions provided by the FLSA regulating the duty of employers to

pay overtime at a rate not less than one and one-half times the regular rate at which its employees

are employed are applicable to Defendant or the Plaintiff.

      36.      The FLSA requires employers to compensate employees for each hour worked over

forty (40) at a rate not less than one and one-half times the employee’s regular rate of pay.

Defendant failed to do so.

                          COLLECTIVE ACTION ALLEGATIONS

      37.      Plaintiff has actual knowledge that the Class Members have also been denied

overtime pay for hours worked over forty (40) hours per workweek as a result of Defendant’s

exclusion of Rig Pay and the per diem payments from the regular rate calculation.

      38.      Plaintiff’s knowledge is based on his personal work experience and through

communications with other workers of Defendant while performing work for Defendant.

      39.      Other hourly paid workers similarly situated to the Plaintiff work for Defendant

throughout the United States, but are not paid overtime at the rate of one and one-half their regular

rate when those hours exceeded forty (40) hours per workweek.

      40.      Although Defendant permitted and/or required Class Members to work in excess

of forty (40) hours per workweek, Defendant has denied them full compensation for their hours

worked over forty (40) by failing to pay overtime at the correct rate to the Class Members.

      41.      Class Members perform or have performed the same or similar work as Plaintiff

and also received a per diem and Rig Pay.

      42.      Class Members are not exempt from receiving overtime pay under the FLSA.

      43.      As such, Class Members are similar to Plaintiff in terms of relevant job duties, pay

structure, and the denial of overtime pay.



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      44.      Defendant’s failure to pay overtime compensation at the rate required by the FLSA

results from generally applicable policies or practices, and does not depend on the personal

circumstances of Class Members.

      45.      The experiences of the Plaintiff, with respect to his pay, hours, and duties are typical

of the experiences of Class Members.

      46.      The specific job titles or precise job responsibilities of each Class Member does not

prevent collective treatment.

      47.      All Class Members, irrespective of their particular job requirements, are entitled to

overtime compensation for hours worked in excess of forty (40) during a workweek.

      48.      Although the exact amount of damages may vary among Class Members, the

damages for Class Members can be easily calculated by a simple formula. The claims of all Class

Members arise from a common nucleus of facts. Liability is based on a systematic course of

wrongful conduct by Defendant that caused harm to all Class Members.

      49.      The forgoing conduct, as alleged, constitutes a willful violation of the FLSA within

the meaning of 29 U.S.C. § 255(a). Additionally, Defendant’s failure to comply with the statue

was not in good faith under 29 U.S.C. § 260.

      50.      This action is brought on behalf of the following class for purposes of the collective

action provisions set forth in 29 U.S.C. § 216(b). The class is properly defined as follows:

               All workers paid an hourly rate and rig pay at any time during the
               three year period prior to the filing of this lawsuit to the present.

      51.      Plaintiff brings this case as a collective action to recover unpaid overtime

compensation, liquidated damages, and attorneys’ fees and costs that are owed to Plaintiff and the

Class Members, as defined above.




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      52.      Given the composition and size of the class, potential opt-in class members may be

informed of the pendency of this action through direct mail, text message, and email.

      53.      Collective treatment is proper in this case because Plaintiff is similarly situated to

the employees he seeks to represent. Plaintiff and the Class Members were subject to the same

compensation policies. The Plaintiff and Class Members performed the same or similar duties.

                                     DAMAGES SOUGHT

      54.      Plaintiff and the Class Members are entitled to recover their unpaid overtime

compensation. 29 U.S.C. §§ 207, 216.

      55.      Plaintiff and the Class Members are entitled to an amount equal to all of their unpaid

wages as liquidated damages. 29 U.S.C. § 216(b).

      56.      Plaintiff and the Class Members are entitled to recover attorney’s fees, interest, and

costs. 29 U.S.C. § 216(b).

                                    PRAYER FOR RELIEF

      57.      For these reasons, Plaintiff, on behalf of themselves and the Class Members,

respectfully request that judgment be entered in their favor awarding them the following:

            a. Overtime compensation for all hours worked over forty in a workweek at the
               applicable time-and-a-half rate;

            b. Liquidated damages in an amount equal to their unpaid overtime as allowed under
               the FLSA;

            c. Reasonable attorney’s fees, costs, interest, and expenses of this action as provided
               by the FLSA;

            d. Pre and post judgment interest; and

            e. Such other and further relief to which Plaintiff and Class Members may be entitled,
               at law or in equity.




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                                     Respectfully submitted,

                                     HODGES & FOTY, L.L.P.

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                                     ATTORNEY-IN-CHARGE FOR PLAINTIFF
                                     AND CLASS MEMBERS




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